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    In the United States Court of Federal Claims
                                 OFFICE OF SPECIAL MASTERS
                                         No. 19-1883V
                                        UNPUBLISHED


    FRANCES A. VACCARO,                                     Chief Special Master Corcoran

                        Petitioner,                         Filed: August 24, 2021
    v.
                                                            Special Processing Unit (SPU);
    SECRETARY OF HEALTH AND                                 Ruling on Entitlement; Concession;
    HUMAN SERVICES,                                         Table Injury; Influenza (Flu) Vaccine;
                                                            Shoulder Injury Related to Vaccine
                       Respondent.                          Administration (SIRVA)


Wes Baker Allison, Kahn Law Firm, LLP, Charleston, SC, for Petitioner.

Lara Ann Englund, U.S. Department of Justice, Washington, DC, for Respondent.

                                   RULING ON ENTITLEMENT1

       On December 12, 2019, Frances A. Vaccaro filed a petition for compensation
under the National Vaccine Injury Compensation Program, 42 U.S.C. §300aa-10, et seq.2
(the “Vaccine Act”). Petitioner alleges that she suffered a shoulder injury related to
vaccine administration (“SIRVA”) as a result of an influenza (“flu”) vaccine administered
on October 2, 2018. Petition at ¶¶ 2-17. The case was assigned to the Special Processing
Unit of the Office of Special Masters.

      On December 11, 2020, Petitioner filed a motion for a ruling on the record (ECF
No. 23). Respondent filed a response in opposition on March 26, 2021 (ECF No. 26).



1
  Because this unpublished Ruling contains a reasoned explanation for the action in this case, I am required
to post it on the United States Court of Federal Claims' website in accordance with the E-Government Act
of 2002. 44 U.S.C. § 3501 note (2012) (Federal Management and Promotion of Electronic Government
Services). This means the Ruling will be available to anyone with access to the internet. In accordance
with Vaccine Rule 18(b), Petitioner has 14 days to identify and move to redact medical or other information,
the disclosure of which would constitute an unwarranted invasion of privacy. If, upon review, I agree that
the identified material fits within this definition, I will redact such material from public access.
2
  National Childhood Vaccine Injury Act of 1986, Pub. L. No. 99-660, 100 Stat. 3755. Hereinafter, for ease
of citation, all “§” references to the Vaccine Act will be to the pertinent subparagraph of 42 U.S.C. § 300aa
(2012).
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       On July 19, 2021, I granted Petitioner’s motion in part and made factual findings.
Findings of Fact, issued July 19, 2021 (ECF No. 27). I found that a preponderance of the
evidence established that the flu vaccine was administered in Petitioner’s left deltoid and
that the onset of Petitioner’s pain occurred within 48 hours of vaccination. Id. at *7-9.

      On August 23, 2021, Respondent filed his Rule 4(c) report. Rule 4(c) Report, filed
Aug. 23, 2021 (ECF No. 29). In it, Respondent reserves the right to appeal the July 19,
2021 fact findings, but accepts the ruling as the law of the case for purposes of further
proceedings before me. Id. at 5-6. Respondent states:

       Based on the Chief Special Master’s fact ruling and medical record
       evidence submitted in this case, DICP will not continue to contest that
       petitioner suffered SIRVA as defined by the Vaccine Injury Table.
       Specifically, petitioner had no recent history of pain, inflammation, or
       dysfunction of her left shoulder; the onset of pain occurred within 48 hours
       after receipt of an intramuscular vaccination; the pain was limited to the
       shoulder in which the vaccine was administered; and no other condition or
       abnormality, such as brachial neuritis, has been identified to explain
       petitioner’s left shoulder pain.

Rule 4(c) Report at *6 (citations omitted).

        Respondent further agrees that Petitioner suffered the residual effects of her
condition for more than six months and “based on the record as it now stands and subject
to his right to appeal the Findings of Fact, respondent does not dispute that petitioner has
satisfied all legal prerequisites for compensation under the Act.” Rule 4(c) Report at *6.

       In view of Respondent’s position and the evidence of record, I find that
Petitioner is entitled to compensation.

IT IS SO ORDERED.

                                   s/Brian H. Corcoran
                                   Brian H. Corcoran
                                   Chief Special Master




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